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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

JERRY ROGERS, JR.,                        *     CIVIL ACTION
         Plaintiff                        *
                                          *     NO. 20-517
VERSUS                                    *
                                          *     JUDGE MILAZZO
                                          *
RANDY SMITH, INDIVIDUALLY                 *     MAG. VAN MEERVELD
And IN HIS OFFICIAL CAPACITY              *
AS THE SHERIFF OF ST. TAMMANY             *     JURY DEMAND
PARISH, DANNY CULPEPER, AND               *
KEITH CANIZARRO                           *
            Defendants                    *
******************************************************************************

                                          AFFIDAVIT

STATE OF LOUISIANA
PARISH OF JEFFERSON

       BEFORE ME, the undersigned notary public, personally came and appeared:

                                        JAMILA NERY

who being duly sworn, did depose and state:

1. I am of the age of majority and a resident of Jefferson Parish and a citizen of the State of

   Louisiana.

2. I am the Executive Assistant to Kevin Bianchini, PhD, FACPN, and as such, I have personal

   knowledge of the facts and statements made herein.

3. On September 7, 2023, our office received a Subpoena to Produce Documents, Information, Or

   Objects in relation to the above captioned litigation, which was addressed to Dr. Bianchini. The

   subpoena set a deadline for production of September 21, 2023.



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4. On September 20, 2023, I provided the requested information to Hope Phelps at

      hopeaphelps@outlook.com via email, which contained a Sharefile link with all of the responsive

      information sought by the September 7, 2023 subpoena request sent to our office. 1 The

      information that I provided to Ms. Phelps complied with the subpoena, and it included all of the

      raw data and file materials from Dr. Bianchini’s evaluation of Jerry Rogers, Jr. on November 2,

      2021.

5. Our office did not receive notice to send the requested information to any other psychologist.

      The requested information was sent only to Plaintiff’s counsel in accordance with the subpoena.

6. After submission of the requested information to Hope Phelps via email on September 20, 2023,

      I did not receive any follow-up correspondence or requests for additional information.


           SWORN TO AND SUBSCRIBED ON THIS 16TH DAY OF OCTOBER 2023.

                                                                                               Jamila Nery
                                                                                    __________________________________
                                                                                    JAMILA NERY



                                             Sarah Fisher
                            _________________________________________
                                        SARAH A. FISHER
                                        NOTARY PUBLIC
                                         BAR NO.: 39881
                                  MY COMMISSION IS FOR LIFE




                                        Online Notary Public. This notarial act involved the use of online audio/video
                                        communication technology. Notarization facilitated by SIGNiX®




1
    See Exhibit A-1, email to Hope Phelps dated September 20, 2023.

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